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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                             Plaintiff,            )      8:06CR411
                                                   )
                     vs.                           )      FINAL ORDER OF
                                                   )      FORFEITURE
                                                   )
MARK HUDSON,                                       )
BUFFIE KACKLEY,                                    )
                                                   )
                             Defendants.           )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. . The Court reviews the record in this case

and, being duly advised in the premises, find as follows:

       1. On April 10, 2007, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 846 and 853, based upon the

Defendants’ pleas of guilty to Counts I and III of the Indictment filed herein. By way of said

Preliminary Order of Forfeiture, the Defendants’ interest in $113.00 and $611.00 in United

States currency was forfeited to the United States.

       2. On May 3, 10 and 17, 2007, the United States published in a newspaper of

general circulation notice of this forfeiture and of the intent of the United States to dispose

of the properties in accordance with the law, and further notifying all third parties of their

right to petition the Court within the stated period of time for a hearing to adjudicate the

validity of their alleged legal interest(s) in said properties. An Affidavit of Publication was

filed herein on June 20, 2007 (Filing No. 78).
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       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 79) is hereby

sustained.

       B. All right, title and interest in and to the $113.00 and $611.00 in United States

currency, held by any person or entity, are hereby forever barred and foreclosed.

       C. The $113.00 and $611.00 in United States currency, be, and the same hereby

are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of

said properties in accordance with law.

       DATED this 26th day of June, 2007.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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